     EXECUTION



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                                   UNITED STATES DISTRICT COURT
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                             NORTHERN DISTRICT OF CALIFORNIA
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                                      SAN FRANCISCO DIVISION
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     IN RE TESLA, INC. SECURITIES                Case No. 3:18-cv-04865-EMC
12   LITIGATION
                                                 CLASS ACTION
13
                                                 STIPULATED [PROPOSED]
14                                               PROTECTIVE ORDER
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     STIPULATED PROTECTIVE ORDER                                   Case No. 3:18-cv-04865-EMC
     EXECUTION



 1           This Stipulated Protective Order (“Order”) is meant to govern the use of, and protect from

 2   public disclosure, any non-public and confidential or proprietary or private information used or

 3   disclosed in this litigation.

 4   1.      PURPOSES AND LIMITATIONS

 5           Disclosure and discovery activity in this action are likely to involve production of

 6   confidential, proprietary, or private information for which special protection from public

 7   disclosure and from use for any purpose other than prosecuting this litigation may be warranted.

 8   Accordingly, the parties hereby stipulate to and petition the court to enter the following Stipulated

 9   Protective Order. The parties acknowledge that this Order does not confer blanket protections on

10   all disclosures or responses to discovery and that the protection it affords from public disclosure

11   and use extends only to the limited information or items that are entitled to confidential treatment

12   under the applicable legal principles. The parties further acknowledge, as set forth in Section 12.3,

13   below, that this Stipulated Protective Order does not entitle them to file confidential information

14   under seal; Civil Local Rule 79-5 sets forth the procedures that must be followed and the standards

15   that will be applied when a party seeks permission from the court to file material under seal.

16   2.      DEFINITIONS

17           2.1     Challenging Party: a Party or Non-Party that challenges the designation of

18   information or items under this Order.

19           2.2     “CONFIDENTIAL” Information or Items: information (regardless of how it is

20   generated, stored or maintained) or tangible things that qualify for protection under Federal Rule

21   of Civil Procedure 26(c) and other proprietary or private information warranting special

22   protection from public disclosure and from use for purposes other than prosecuting this litigation.

23           2.3     Counsel (without qualifier): Outside Counsel of Record and In-House Counsel (as

24   well as their support staff).

25           2.4     Designating Party: a Party or Non-Party that designates information or items

26   produced in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY

27   CONFIDENTIAL – ATTORNEYS’ EYES ONLY”.

28           2.5     Disclosure or Discovery Material: all items or information, regardless of the

     STIPULATED PROTECTIVE ORDER                      1                        Case No. 3:18-cv-04865-EMC
 1   medium or manner in which it is generated, stored, or maintained (including, among other things,

 2   testimony, transcripts, and tangible things), that are produced or generated in disclosures or

 3   responses to discovery in this matter.

 4          2.6     Expert: a person with specialized knowledge or experience in a matter pertinent to

 5   the litigation who (1) has been retained by a Party or its counsel to serve as an expert witness or

 6   as a consultant in this action, (2) is not a past or current employee of a Party or of a Party’s

 7   competitor, and (3) at the time of retention, is not anticipated to become an employee of a Party

 8   or of a Party’s competitor.

 9          2.7     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or

10   Items: extremely sensitive “Confidential Information or Items,” disclosure of which to another

11   Party or Non-Party would create a substantial risk of serious harm that could not be avoided by

12   less restrictive means.

13          2.8     In-House Counsel: attorneys who are employees of a party to this action. In-House

14   Counsel does not include Outside Counsel of Record or any other outside counsel.

15          2.9     Non-Party: any natural person, partnership, corporation, association, or other legal

16   entity not named as a Party to this action.

17          2.10    Outside Counsel of Record: attorneys who are not employees of a party to this

18   action but are retained to represent or advise a party to this action and have appeared in this action

19   on behalf of that party or are affiliated with a law firm which has appeared on behalf of that party.

20          2.11    Party: any party to this action, including all of its officers, directors, employees,

21   consultants, retained experts, and Outside Counsel of Record (and their support staffs).

22          2.12    Producing Party: a Party or Non-Party that produces Disclosure or Discovery

23   Material in this action.

24          2.13    Professional Vendors: persons or entities that provide litigation support services

25   (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and

26   organizing, storing, or retrieving data in any form or medium) and their employees and

27   subcontractors.

28          2.14    Protected Material: any Disclosure or Discovery Material that is designated as

     STIPULATED PROTECTIVE ORDER                       2                     CASE NO. 3:18-CV-04865-EMC
 1   “CONFIDENTIAL,” or as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

 2          2.15    Receiving Party: a Party that receives Disclosure or Discovery Material from a

 3   Producing Party.

 4   3.     SCOPE

 5          The protections conferred by this Stipulation and Order cover not only Protected Material

 6   (as defined above), but also (1) any information copied or extracted from Protected Material; (2)

 7   all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

 8   conversations, or presentations by Parties or their Counsel that might reveal Protected Material.

 9   However, the protections conferred by this Stipulation and Order do not cover the following

10   information: (a) any information that is in the public domain at the time of disclosure to a

11   Receiving Party or becomes part of the public domain after its disclosure to a Receiving Party as

12   a result of publication not involving a violation of this Order, including becoming part of the

13   public record through trial or otherwise; and (b) any information known to the Receiving Party

14   prior to the disclosure or obtained by the Receiving Party after the disclosure from a source who

15   obtained the information lawfully and under no obligation of confidentiality to the Designating

16   Party. Any use of Protected Material at trial shall be governed by a separate agreement or order.

17   4.     DURATION

18          Even after final disposition of this litigation, the confidentiality obligations imposed by

19   this Order shall remain in effect until a Designating Party agrees otherwise in writing or a court

20   order otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all

21   claims and defenses in this action, with or without prejudice; and (2) final judgment herein after

22   the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,

23   including the time limits for filing any motions or applications for extension of time pursuant to

24   applicable law.

25   5.     DESIGNATING PROTECTED MATERIAL

26          5.1     Exercise of Restraint and Care in Designating Material for Protection. Each Party

27   or Non-Party that designates information or items for protection under this Order must take care

28   to limit any such designation to specific material that qualifies under the appropriate standards.

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 1   To the extent it is practical to do so, the Designating Party must designate for protection only

 2   those parts of material, documents, items, or oral or written communications that qualify – so that

 3   other portions of the material, documents, items, or communications for which protection is not

 4   warranted are not swept unjustifiably within the ambit of this Order.

 5          Mass, indiscriminate, or routinized designations are generally prohibited. Designations

 6   that are shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

 7   unnecessarily encumber or retard the case development process or to impose unnecessary

 8   expenses and burdens on other parties) expose the Designating Party to sanctions.

 9          If it comes to a Designating Party’s attention that information or items that it designated

10   for protection do not qualify for protection at all or do not qualify for the level of protection

11   initially asserted, that Designating Party must promptly notify all other Parties that it is

12   withdrawing the mistaken designation.

13          5.2     Manner and Timing of Designations. Except as otherwise provided in this Order

14   (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,

15   Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

16   designated before the material is disclosed or produced.

17          Designation in conformity with this Order requires:

18                  (a) for information in documentary form (e.g., paper or electronic documents, but

19   excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing Party

20   affix the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

21   ONLY” to each page that contains protected material. To the extent it is practicable to do so, if

22   only a portion or portions of the material on a page qualifies for protection, the Producing Party

23   also must clearly identify the protected portion(s) (e.g., by making appropriate markings in the

24   margins) and must specify, for each portion, the level of protection being asserted.

25          A Party or Non-Party that makes original documents or materials available for inspection

26   need not designate them for protection until after the inspecting Party has indicated which material

27   it would like copied and produced. During the inspection and before the designation, all of the

28   material made available for inspection shall be deemed “HIGHLY CONFIDENTIAL –

     STIPULATED PROTECTIVE ORDER                       4                     CASE NO. 3:18-CV-04865-EMC
 1   ATTORNEYS’ EYES ONLY.” After the inspecting Party has identified the documents it wants

 2   copied and produced, the Producing Party must determine which documents, or portions thereof,

 3   qualify for protection under this Order. Then, before producing the specified documents, the

 4   Producing Party must affix the appropriate legend (“CONFIDENTIAL” or “HIGHLY

 5   CONFIDENTIAL – ATTORNEYS’ EYES ONLY”) to each page that contains Protected

 6   Material. If only a portion or portions of the material on a page qualifies for protection, the

 7   Producing Party also must clearly identify the protected portion(s) (e.g., by making appropriate

 8   markings in the margins) and must specify, for each portion, the level of protection being asserted.

 9                   (b) for testimony given in deposition or in other pretrial or trial proceedings, that

10   the Designating Party identify on the record, before the close of the deposition, hearing, or other

11   proceeding, all protected testimony and specify the level of protection being asserted. When it is

12   impractical to identify separately each portion of testimony that is entitled to protection, a Party

13   or the Designating Party may invoke on the record (before the deposition, hearing, or other

14   proceeding is concluded) a right to have up to 30 days after receipt of the transcript of the

15   testimony in which to identify the specific portions of the testimony as to which protection is

16   sought and to specify the level of protection being asserted. Only those portions of the testimony

17   that are appropriately designated for protection within the 30 days shall be covered by the

18   provisions of this Order. Alternatively, a Designating Party may specify, at the deposition or up

19   to 30 days after receipt of the transcript of the testimony, if that right is properly invoked, that the

20   entire transcript shall be treated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

21   ATTORNEYS’ EYES ONLY.”

22           Parties shall give the other parties notice if they reasonably expect a deposition, hearing

23   or other proceeding to include Protected Material so that the other parties can ensure that only

24   authorized individuals who have signed the “Acknowledgment and Agreement to Be Bound”

25   (Exhibit A) are present at those proceedings. The use of a document as an exhibit at a deposition

26   shall not in any way affect its designation as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL

27   – ATTORNEYS’ EYES ONLY.”

28           Transcripts containing Protected Material shall have an obvious legend on the title page

     STIPULATED PROTECTIVE ORDER                        5                      CASE NO. 3:18-CV-04865-EMC
 1   that the transcript contains Protected Material, and the title page shall be followed by a list of all

 2   pages (including line numbers as appropriate) that have been designated as Protected Material

 3   and the level of protection being asserted by the Designating Party. The Designating Party shall

 4   inform the court reporter of these requirements. Any transcript that is prepared before the

 5   expiration of the 30-day period for designation shall be treated during that period as if it had been

 6   designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in its entirety unless

 7   otherwise agreed. After the expiration of that period, the transcript shall be treated only as actually

 8   designated.

 9                  (c) for information produced in some form other than documentary and for any

10   other tangible items, that the Producing Party affix in a prominent place on the exterior of the

11   container or containers in which the information or item is stored the legend “CONFIDENTIAL”

12   or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”. If only a portion or portions

13   of the information or item warrant protection, the Producing Party, to the extent practicable, shall

14   identify the protected portion(s) and specify the level of protection being asserted.

15                  (d) for information requiring production in native or non-documentary electronic

16   form (e.g., a database): by its nature, certain electronic information is impracticable to designate

17   for confidentiality on a document or item by item basis. In such instances, the producing Party

18   shall therefore affix in a prominent place on the exterior of the container or containers within

19   which the electronic information is stored or transmitted (e.g., a physical CD-ROM or had disk

20   drive) the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

21   ONLY.” The Receiving Party shall mark any documents it prints from such designated files

22   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” – as

23   designated - and treat them as such, in accordance with the provisions of this Order.

24          5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

25   designate qualified information or items does not, standing alone, waive the Designating Party’s

26   right to secure protection under this Order for such material. Upon timely correction of a

27   designation, the Receiving Party must make reasonable efforts to assure that the material is treated

28   in accordance with the provisions of this Order.

     STIPULATED PROTECTIVE ORDER                        6                     CASE NO. 3:18-CV-04865-EMC
 1   6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

 2          6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of

 3   confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

 4   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

 5   burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to

 6   challenge a confidentiality designation by electing not to mount a challenge promptly after the

 7   original designation is disclosed.

 8          6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution

 9   process by providing written notice (which may be accomplished via email) of each designation

10   it is challenging and describing the basis for each challenge. To avoid ambiguity as to whether a

11   challenge has been made, the written notice must recite that the challenge to confidentiality is

12   being made in accordance with this specific paragraph of the Order. The parties shall attempt to

13   resolve each challenge in good faith and must begin the process by conferring directly (in voice

14   to voice dialogue; other forms of communication are not sufficient) within 14 days of the date of

15   service of notice. In conferring, the Challenging Party must explain the basis for its belief that the

16   confidentiality designation was not proper and must give the Designating Party an opportunity to

17   review the designated material, to reconsider the circumstances, and, if no change in designation

18   is offered, to explain the basis for the chosen designation. A Challenging Party may proceed to

19   the next stage of the challenge process only if it has engaged in this meet and confer process first

20   or establishes that the Designating Party is unwilling to participate in the meet and confer process

21   in a timely manner.

22          6.3     Judicial Intervention. If the Parties cannot resolve a challenge without court

23   intervention, and the Challenging Party still seeks to pursue a challenge to a confidentiality

24   designation after considering the justification offered by the Designating Party, the Challenging

25   Party shall serve written notice (which may be accomplished via email), in accordance with this

26   specific paragraph of the Order, identifying for the Designating Party the specific material that

27   remains subject to the challenge. The Designating Party shall file and serve a motion to retain

28   confidentiality under Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5, if

     STIPULATED PROTECTIVE ORDER                       7                     CASE NO. 3:18-CV-04865-EMC
 1   applicable) within 21 days of receiving such notice or within 14 days of the parties agreeing that

 2   the meet and confer process will not resolve their dispute, whichever is earlier. 1 Each such motion

 3   must be accompanied by a competent declaration affirming that the movant has complied with

 4   the meet and confer requirements imposed in the preceding paragraph. Failure by the Designating

 5   Party to make such a motion including the required declaration within 21 days of notice (or 14

 6   days, if applicable) shall automatically waive the confidentiality designation for each challenged

 7   designation. In addition, the Challenging Party may file a motion challenging a confidentiality

 8   designation at any time if there is good cause for doing so, including a challenge to the designation

 9   of a deposition transcript or any portions thereof. Any motion brought pursuant to this provision

10   must be accompanied by a competent declaration affirming that the movant has complied with

11   the meet and confer requirements imposed by the preceding paragraph.

12          The burden of persuasion in any such challenge proceeding shall be on the Designating

13   Party. Frivolous challenges and those made for an improper purpose (e.g., to harass or impose

14   unnecessary expenses and burdens on other parties) may expose the Challenging Party to

15   sanctions. Unless the Designating Party has waived the confidentiality designation by failing to

16   file a motion to retain confidentiality as described above, all parties shall continue to afford the

17   material in question the level of protection to which it is entitled under the Producing Party’s

18   designation until the court rules on the challenge.

19   7.     ACCESS TO AND USE OF PROTECTED MATERIAL

20          7.1     Basic Principles. A Receiving Party may use Protected Material that is disclosed

21   or produced by another Party or by a Non-Party in connection with this case only for prosecuting,

22   defending, or attempting to settle this litigation. Such Protected Material may be disclosed only

23   to the categories of persons and under the conditions described in this Order. When the litigation

24   has been terminated, a Receiving Party must comply with the provisions of section 13 below

25   (FINAL DISPOSITION).

26          Protected Material must be stored and maintained by a Receiving Party at a location and

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      After three challenges, the burden to move is on the Challenging party to avoid an abuse of the
28   process. The burden of persuasion remains on the Designating Party.

     STIPULATED PROTECTIVE ORDER                       8                    CASE NO. 3:18-CV-04865-EMC
 1   in a secure manner 2 that ensures that access is limited to the persons authorized under this Order.

 2          7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered

 3   by the court or permitted in writing by the Designating Party, a Receiving Party may disclose any

 4   information or item designated “CONFIDENTIAL” only to:

 5                  (a) the Receiving Party’s Outside Counsel of Record in this action, as well as

 6   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the

 7   information for this litigation and who have signed the “Acknowledgment and Agreement to Be

 8   Bound” that is attached hereto as Exhibit A;

 9                  (b) the officers, directors, and employees (including In-House Counsel) of the

10   Receiving Party to whom disclosure is reasonably necessary for this litigation and who have

11   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

12                  (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is

13   reasonably necessary for this litigation and who have signed the “Acknowledgment and

14   Agreement to Be Bound” (Exhibit A);

15                  (d) the court and its personnel;

16                  (e) court reporters and their staff, professional jury or trial consultants, and

17   Professional Vendors to whom disclosure is reasonably necessary for this litigation and who have

18   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

19                  (f) during their depositions, witnesses in the action to whom disclosure is

20   reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”

21   (Exhibit A), unless otherwise agreed by the Designating Party or ordered by the court. Pages of

22   transcribed deposition testimony or exhibits to depositions that reveal Protected Material must be

23   separately bound by the court reporter and may not be disclosed to anyone except as permitted

24   under this Order; and

25                  (g) the author or recipient of a document containing the information or a custodian

26   or other person who otherwise possessed or knew the information.

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28     It may be appropriate under certain circumstances to require the Receiving Party to store any
     electronic Protected Material in password-protected form.
     STIPULATED PROTECTIVE ORDER                       9                    CASE NO. 3:18-CV-04865-EMC
 1          7.3     Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

 2   Information or Items. Unless otherwise ordered by the court or permitted in writing by the

 3   Designating Party, a Receiving Party may disclose any information or item designated “HIGHLY

 4   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to:

 5                  (a) the Receiving Party’s Outside Counsel of Record in this action, as well as

 6   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the

 7   information for this litigation and who have signed the “Acknowledgment and Agreement to Be

 8   Bound” that is attached hereto as Exhibit A;

 9                  (b) Designated In-House Counsel of the Receiving Party (1) who has no

10   involvement in competitive decision-making, (2) to whom disclosure is reasonably necessary for

11   this litigation, (3) who has signed the “Acknowledgment and Agreement to Be Bound” (Exhibit

12   A), and (4) as to whom the procedures set forth in paragraph 7.4(a)(1), below, have been followed;

13                  (c) Experts of the Receiving Party (1) to whom disclosure is reasonably necessary

14   for this litigation, (2) who have signed the “Acknowledgment and Agreement to Be Bound”

15   (Exhibit A), and (3) as to whom the procedures set forth in paragraph 7.4(a)(2), below, have been

16   followed;

17                  (d) the court and its personnel;

18                  (e) court reporters and their staff, professional jury or trial consultants, and

19   Professional Vendors to whom disclosure is reasonably necessary for this litigation and who have

20   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A); and

21                  (f) the author or recipient of a document containing the information or a custodian

22   or other person who otherwise possessed or knew the information.

23          7.4 Procedures for Approving or Objecting to Disclosure of “HIGHLY CONFIDENTIAL

24   – ATTORNEYS’ EYES ONLY” Information or Items to Designated In-House Counsel or

25   Experts.

26                  (a)(1) Unless otherwise ordered by the court or agreed to in writing by the

27   Designating Party, a Party that seeks to disclose to Designated In-House Counsel any information

28   or item that has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

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 1   pursuant to paragraph 7.3(b) first must make a written request to the Designating Party (which

 2   may be accomplished via email) that (1) sets forth the full name of the Designated In-House

 3   Counsel and the city and state of his or her residence, and (2) describes the Designated In-House

 4   Counsel’s current and reasonably foreseeable future primary job duties and responsibilities in

 5   sufficient detail to determine if In-House Counsel is involved, or may become involved, in any

 6   competitive decision-making.

 7                  (a)(2) Unless otherwise ordered by the court or agreed to in writing by the

 8   Designating Party, a Party that seeks to disclose to an Expert (as defined in this Order) any

 9   information or item that has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’

10   EYES ONLY” pursuant to paragraph 7.3(c) first must make a written request to the Designating

11   Party (which may be accomplished via email) that (1) identifies the general categories of

12   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information that the Receiving

13   Party seeks permission to disclose to the Expert, (2) sets forth the full name of the Expert and the

14   city and state of his or her primary residence, (3) attaches a copy of the Expert’s current resume,

15   (4) identifies the Expert’s current employer(s), (5) identifies each person or entity from whom the

16   Expert has received compensation or funding for work in his or her areas of expertise or to whom

17   the expert has provided professional services, including in connection with a litigation, at any

18   time during the preceding five years, and (6) identifies (by name and number of the case, filing

19   date, and location of court) any litigation in connection with which the Expert has offered expert

20   testimony, including through a declaration, report, or testimony at a deposition or trial, during the

21   preceding five years. 3

22                  (b) A Party that makes a request and provides the information specified in the

23   preceding respective paragraphs may disclose the subject Protected Material to the identified

24   Designated House Counsel or Expert unless, within 14 days of delivering the request, the Party

25   receives a written objection (which may be accomplished via email) from the Designating Party.

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27     It may be appropriate in certain circumstances to restrict the Expert from undertaking certain
     limited work prior to the termination of the litigation that could foreseeably result in an improper
28   use of the Designating Party’s “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
     information.
     STIPULATED PROTECTIVE ORDER                       11                     CASE NO. 3:18-CV-04865-EMC
 1   Any such objection must set forth in detail the grounds on which it is based.

 2                  (c) A Party that receives a timely written objection must meet and confer with the

 3   Designating Party (through direct voice to voice dialogue, other forms of communication are not

 4   sufficient) to try to resolve the matter by agreement within seven days of the written objection. If

 5   no agreement is reached, the Party seeking to make the disclosure to Designated In-House

 6   Counsel or the Expert may file a motion as provided in Civil Local Rule 7 (and in compliance

 7   with Civil Local Rule 79-5, if applicable) seeking permission from the court to do so. Any such

 8   motion must describe the circumstances with specificity, set forth in detail the reasons why the

 9   disclosure to Designated In-House Counsel or the Expert is reasonably necessary, assess the risk

10   of harm that the disclosure would entail, and suggest any additional means that could be used to

11   reduce that risk. In addition, any such motion must be accompanied by a competent declaration

12   describing the parties’ efforts to resolve the matter by agreement (i.e., the extent and the content

13   of the meet and confer discussions) and setting forth the reasons advanced by the Designating

14   Party for its refusal to approve the disclosure.

15          In any such proceeding, the Party opposing disclosure to Designated In-House Counsel or

16   the Expert shall bear the burden of proving that the risk of harm that the disclosure would entail

17   (under the safeguards proposed) outweighs the Receiving Party’s need to disclose the Protected

18   Material to its Designated In-House Counsel or Expert.

19   8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN

20          OTHER LITIGATION

21                  If a Party is served with a subpoena or a court order issued in other litigation that

22   compels disclosure of any information or items designated in this action as “CONFIDENTIAL”

23   or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” that Party must:

24                  (a) promptly notify in writing (by email, with receipt confirmed) the Designating

25   Party. Such notification shall include a copy of the subpoena or court order;

26                  (b) promptly notify in writing the party who caused the subpoena or order to issue

27   in the other litigation that some or all of the material covered by the subpoena or order is subject

28   to this Order. Such notification shall include a copy of this Order; and

     STIPULATED PROTECTIVE ORDER                        12                      CASE NO. 3:18-CV-04865-EMC
 1                  (c) cooperate with respect to all reasonable procedures sought to be pursued by the

 2   Designating Party whose Protected Material may be affected. 4

 3                  If the Designating Party timely seeks a protective order, the Party served with the

 4   subpoena or court order shall not produce any information designated in this action as

 5   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” before a

 6   determination by the court from which the subpoena or order issued, unless the Party has obtained

 7   the Designating Party’s permission. The Designating Party shall bear the burden and expense of

 8   seeking protection in that court of its confidential material – and nothing in these provisions

 9   should be construed as authorizing or encouraging a Receiving Party in this action to disobey a

10   lawful directive from another court.

11   9.       A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN

12            THIS LITIGATION

13                  (a)      The terms of this Order are applicable to information produced by a Non-

14   Party in this action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

15   ATTORNEYS’ EYES ONLY”. Such information produced by Non-Parties in connection with

16   this litigation is protected by the remedies and relief provided by this Order. Nothing in these

17   provisions should be construed as prohibiting a Non-Party from seeking additional protections.

18                  (b)      In the event that a Party is required, by a valid discovery request, to produce

19   a Non-Party’s confidential information in its possession, and the Party is subject to an agreement

20   with the Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

21                        1. promptly notify in writing the Requesting Party and the Non-Party that

22   some or all of the information requested is subject to a confidentiality agreement with a Non-

23   Party;

24                        2. promptly provide the Non-Party with a copy of this Order, the relevant

25   discovery request(s), and a reasonably specific description of the information requested; and

26                        3. make the information requested available for inspection by the Non-Party.

27
     4
       The purpose of imposing these duties is to alert the interested parties to the existence of this
28   Protective Order and to afford the Designating Party in this case an opportunity to try to protect
     its confidentiality interests in the court from which the subpoena or order issued.
     STIPULATED PROTECTIVE ORDER                        13                   CASE NO. 3:18-CV-04865-EMC
 1                  (c)     If the Non-Party fails to object or seek a protective order from this court

 2   within 14 days of receiving the notice and accompanying information, the Receiving Party may

 3   produce the Non-Party’s confidential information responsive to the discovery request. If the Non-

 4   Party timely seeks a protective order, the Receiving Party shall not produce any information in its

 5   possession or control that is subject to the confidentiality agreement with the Non-Party before a

 6   determination by the court. 5 Absent a court order to the contrary, the Non-Party shall bear the

 7   burden and expense of seeking protection in this court of its Protected Material.

 8   10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

 9                  If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed

10   Protected Material to any person or in any circumstance not authorized under this Order, the

11   Receiving Party must immediately (a) notify in writing the Designating Party of the unauthorized

12   disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected Material,

13   (c) inform the person or persons to whom unauthorized disclosures were made of all the terms of

14   this Order, and (d) request such person or persons to execute the “Acknowledgment and

15   Agreement to Be Bound” that is attached hereto as Exhibit A.

16   11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE

17          PROTECTED MATERIAL

18          If Discovery Material or other information subject to a claim of attorney-client privilege,

19   work-product immunity, or any other applicable claim of privilege or immunity is inadvertently

20   produced or otherwise disclosed to any Party or Non-Party, such production or disclosure shall in

21   no way prejudice or otherwise constitute a waiver of, or estoppel as to, any claim of privilege or

22   immunity for such Discovery Material or other information. Discovery Material or other

23   information subject to a claim of privilege or immunity must be returned as soon as it is

24   discovered, without any need to show the production was inadvertent. The Receiving Party shall

25   not use the inadvertently produced Discovery Material or other information for any purpose other

26   than in connection with a motion to compel production in this matter.

27   5
       The purpose of this provision is to alert the interested parties to the existence of confidentiality
28   rights of a Non-Party and to afford the Non-Party an opportunity to protect its confidentiality
     interests in this court.
     STIPULATED PROTECTIVE ORDER                       14                     CASE NO. 3:18-CV-04865-EMC
 1           Upon request by the Producing Party pursuant to this Section, the Receiving Party shall

 2   immediately return all copies of such document(s) or thing(s) and shall destroy any newly created

 3   derivative document such as a summary or comment on the inadvertently produced information.

 4   The Receiving Party may then move the court for an order compelling production of such

 5   information, but the motion shall not assert as a ground for production the fact or circumstances

 6   of the inadvertent production. If a claim is disputed, the Receiving Party shall not use or disclose

 7   any Discovery Material or other information for which a claim of privilege or immunity is made

 8   pursuant to this Section for any purpose or until the matter is resolved by agreement of the parties

 9   or by a decision of the court.

10   12.     MISCELLANEOUS

11           12.1    Right to Further Relief. Nothing in this Order abridges the right of any person to

12   seek its modification by the court in the future.

13           12.2    Right to Assert Other Objections. By stipulating to the entry of this Protective

14   Order no Party waives any right it otherwise would have to object to disclosing or producing any

15   information or item on any ground not addressed in this Order. Similarly, no Party waives any

16   right to object on any ground to use in evidence of any of the material covered by this Order.

17           12.3    Filing Protected Material. Without written permission from the Designating Party

18   or a court order secured after appropriate notice to all interested persons, a Party may not file in

19   the public record in this action any Protected Material. A Party that seeks to file under seal any

20   Protected Material must comply with Civil Local Rule 79-5. Protected Material may only be filed

21   under seal pursuant to a court order authorizing the sealing of the specific Protected Material at

22   issue. Pursuant to Civil Local Rule 79-5, a sealing order will issue only upon a request establishing

23   that the Protected Material at issue is privileged, protectable as a trade secret, or otherwise entitled

24   to protection under the law. If a Receiving Party's request to file Protected Material under seal

25   pursuant to Civil Local Rule 79-5(e) (concerning documents or information designated as

26   confidential by another Party or Non-Party) is denied by the court, then the Receiving Party may

27   file the Protected Material in the public record in accordance with Civil Local Rule 79-5(e)(2)

28   unless otherwise instructed by the court.

     STIPULATED PROTECTIVE ORDER                         15                     CASE NO. 3:18-CV-04865-EMC
 1   13.    FINAL DISPOSITION

 2                  Within 60 days after the final disposition of this action, as defined in Section 4

 3   (DURATION), each Receiving Party must return all Protected Material to the Producing Party or

 4   destroy such material. As used in this subdivision, “all Protected Material” includes all copies,

 5   abstracts, compilations, summaries, and any other format reproducing or capturing any of the

 6   Protected Material. Whether the Protected Material is returned or destroyed, the Receiving Party

 7   must submit a written certification to the Producing Party (and, if not the same person or entity,

 8   to the Designating Party) by the 60-day deadline that (1) identifies (by category, where

 9   appropriate) all the Protected Material that was returned or destroyed and (2) affirms that the

10   Receiving Party has not retained any copies, abstracts, compilations, summaries or any other

11   format reproducing or capturing any of the Protected Material. Notwithstanding this provision,

12   Counsel are entitled to retain an archival copy of all pleadings, motion papers, trial, deposition,

13   and hearing transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert

14   reports, attorney work product, and consultant and expert work product, even if such materials

15   contain Protected Material. Any such archival copies that contain or constitute Protected Material

16   remain subject to this Protective Order as set forth in Section 4 (DURATION).

17          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

18   Dated: May 19, 2020                           LEVI & KORSINSKY, LLP
19                                                 By: /s/   Adam M. Apton                           .
20
                                                      Adam M. Apton (CSB No. 316506)
21                                                    Adam C. McCall (CSB No. 302130)
                                                      388 Market Street, Suite 1300
22                                                    San Francisco, CA 94111
                                                      Telephone: (415) 373-1671
23                                                    Facsimile: (415) 484-1294

24                                                    Nicholas I. Porritt (admitted pro hac vice)
                                                      1101 30th Street NW, Suite 115
25                                                    Washington, D.C. 20007
                                                      Telephone: (202) 524-4290
26                                                    Facsimile: (202) 337-1567

27                                                    Attorneys for Lead Plaintiff Glen Littleton and
                                                      Lead Counsel for the Class
28

     STIPULATED PROTECTIVE ORDER                      16                    CASE NO. 3:18-CV-04865-EMC
 1

 2   Dated:    May 19, 2020                        FENWICK & WEST LLP
 3                                                 By: /s/ Jennifer C. Bretan
                                                              Jennifer C. Bretan
 4
                                                       555 California Street, 12th Floor
 5                                                     San Francisco, California 94104
                                                       Telephone: (415) 875-2300
 6                                                     Facsimile: (415) 281-1350
                                                   Attorneys for Defendants Tesla, Inc., Elon Musk,
 7                                                 Brad W. Buss, Robyn Denholm, Ira Ehrenpreis,
                                                   Antonio J. Gracias, James Murdoch, Kimbal Musk,
 8                                                 and Linda Johnson Rice
 9

10   Pursuant to Civil Local Rule No. 5-1(i)(3), all signatories concur in filing this Stipulated
     [Proposed] Protective Order.
11

12   Dated: May 19, 2020                           By: /s/ Adam M. Apton
                                                          Adam M. Apton
13

14                                                   ***

15   PURSUANT TO STIPULATION, IT IS SO ORDERED.

16

17   DATED: ________________________
             May 20, 2020                         _____________________________________
                                                      Hon. Edward M. Chen
18                                                 United States District Judge
19

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     STIPULATED PROTECTIVE ORDER                       17                    CASE NO. 3:18-CV-04865-EMC
 1                                               EXHIBIT A

 2                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

 3                    I,   _____________________________          [print   or   type   full   name],   of

 4   _________________ [print or type full address], declare under penalty of perjury that I have

 5   read in its entirety and understand the Stipulated Protective Order that was issued by the United

 6   States District Court for the Northern District of California on __________ ____, 2020 in the

 7   case of In re Tesla, Inc. Securities Litigation, Case No. 3:18-cv-04865-EMC (the “Order”). I

 8   agree to comply with and to be bound by all the terms of the Order and I understand and

 9   acknowledge that failure to so comply could expose me to sanctions and punishment in the nature

10   of contempt. I solemnly promise that I will not disclose in any manner any information or item

11   that is subject to the Order to any person or entity except in strict compliance with the provisions

12   of this Order.

13                    I further agree to submit to the jurisdiction of the United States District Court for

14   the Northern District of California for the purpose of enforcing the terms of the Order, even if

15   such enforcement proceedings occur after termination of this action.

16                    I hereby appoint __________________________ [print or type full name] of

17   _______________________________________ [print or type full address and telephone

18   number] as my California agent for service of process in connection with this action or any

19   proceedings related to enforcement of the Order.

20

21   Date: _________________________________

22   City and State where sworn and signed: _________________________________

23   Printed name: ______________________________
24                 [printed name]

25   Signature: __________________________________
                   [signature]
26

27

28

     STIPULATED PROTECTIVE ORDER                        18                      CASE NO. 3:18-CV-04865-EMC
